Case: 4:17-cv-02837-JCH Doc. #: 1-8 Filed: 12/06/17 Page: 1 of 3 PageID #: 59




          Exhibit H
             Case: 4:17-cv-02837-JCH Doc. #: 1-8 Filed: 12/06/17 Page: 2 of 3 PageID #: 60




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        Case: 4:17-cv-02837-JCH Doc. #: 1-8 Filed: 12/06/17 Page: 3 of 3 PageID #: 61


                                                              New York County Civrl Court
                                                                   Civil Judgment

Plaintiff(s):                                                                                   lndex Number: CV-021064'16/NY
  EDS Management Corp,                                                                          Judgment issued: After Calendar Default:
                                                                                                                         lnquest Clerk
VS
                                                                                                On Motion of:
Defendant(s):                                                                                   Kavulich & Associates, P.C'
 Angela Paulr,                                                                                  181 WestchesterAvenue, Suite 500C' Port
 Robert A PauliJr                                                                               Chester, NY 10573-6522

Arnount clarrnetl                          $4,648,3s          lndex Number Fee                 $45.00      TranscriPt Fee                    $0.00
Lcss Pirynrents rnatJc                         s0.00          Consumer Credil Fee               $0.00      County Clerk Fee                  s0.00
Lcss Counlrlrclarm Offset                      $0.00          Service Fee                      $25.00      Enlorcement Fee                 $50.00
lntt;resl       03/01/2011 at 9%           s2,722.18          Non-Mrlitary Fee                  $0.00      Other Drsbursemenls               $0.00
Allo.ncy Fecs                                  $0.00          Notice of Trìal Fee               $0.00      Olher Costs                       $0.00
Cost By Statute                               $s0.00          Jury Demand Fee                   $0.00

Total   Damages                    $7,370.57 Total Costs &        Disbursements                 $170.00    Judgment      Total           $7'540.57

The following named parties, addressed and identilled as creditors below:

Plarntif creditor(s) and address
(1) EDS Management Corp,
1576-78 Third Avenue, Bronx, NY 10453
Shall recover of lhe following parties, addresses and identilied as debtors below:

Defendant debtor(s) and address
 (1)Angela Pauli
 2233 Parklon Way, PH, Barnhart, MO 63012-1269
 (2) Robert A Pauli Jr
 3214 Yaeger Road, PH, Saint Louis, MO 63129-3016


 Judgment entered at the New York County Civil Court, 111 Centre Street, New York, NY 100'13, in the STATE OF NEW
 YORK in the totalamount of $7,540.57 on 09/01i2017 at 10:20 AM.


 Judgment sequence          1
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